                     Case 8-20-08049-ast     Doc 80       Filed 03/23/23   Entered 03/23/23 13:21:37




                                       Jeffrey P. Nolan             March 23, 2023                      310.772.2313
                                                                                                  jnolan@pszjlaw.com




L O S A N G E L E S, C A                   The Honorable Alan S. Trust
S A N F R A N C I S C O, C A
W I L M I N G T O N, D E                   Chief Judge
N E W Y O R K, N Y
                                           United States Bankruptcy Court
                                           Eastern District of New York
10100 SANTA MONICA BLVD.                   Alfonse M. D’Amato Federal Courthouse
13th FLOOR
LOS ANGELES                                290 Federal Plaza
CALIFORNIA 90067                           Central Islip, New York 11722
TELEPHONE: 310/277 6910

FACSIMILE: 310/201 0760
                                                   Re:    In re Orion HealthCorp, Inc., et al.
                                                          Howard M. Ehrenberg v. Arvind Walia;
SAN FRANCISCO                                             Niknim Management Inc.
150 CALIFORNIA STREET                                     USBC EDNY Adv. Proc. No. 20-08049-ast
15th FLOOR
SAN FRANCISCO
CALIFORNIA 94111-4500
                                       Dear Judge Trust:
TELEPHONE: 415/263 7000
                                              We are counsel for Howard M. Ehrenberg in his capacity as
FACSIMILE: 415/263 7010
                                       Liquidating Trustee of Orion Healthcorp, Inc., et al. (the “Liquidating
DELAWARE
                                       Trustee”) in the above referenced adversary proceeding.
919 NORTH MARKET STREET
17th FLOOR                                     Per the Court’s instruction, I write to confirm the Court has
P.O. BOX 8705                          continued the Pre-Trial Conference from March 22, 2023 at 12:00 p.m.
WILMINGTON
DELAWARE 19899-8705
                                       (prevailing Eastern Time) to June 28, 2023 at 12:00 p.m. (prevailing
                                       Eastern Time), before the Honorable Alan S. Trust, United States
TELEPHONE: 302/652 4100

FACSIMILE: 302/652 4400
                                       Bankruptcy Judge, Courtroom 960 of the United States Bankruptcy
                                       Court for the Eastern District of New York, 290 Federal Plaza, Central
NEW YORK
                                       Islip, NY 11722.
780 THIRD AVENUE
34th FLOOR                                    I also write to confirm that this date may also be used by the
NEW YORK
                                       Court as a Ruling Conference on the pending motions for summary
NEW YORK 10017-2024
                                       judgment.
TELEPHONE: 212/561 7700

FACSIMILE: 212/561 7777
                                               The Liquidating Trustee will cause this letter to be served on all
                                       parties entitled to receive notice.
TEXAS
440 LOUISIANA STREET
SUITE 900
                                                                       Very truly yours,
HOUSTON
TEXAS 77002                                                            /s/ Jeffrey P. Nolan
TELEPHONE: 713/691 9385
                                                                       Jeffrey P. Nolan
FACSIMILE: 713/691 9407




WEB:   www.pszjlaw.com                 DOCS_LA:348108.1 65004/003
Case 8-20-08049-ast   Doc 80       Filed 03/23/23   Entered 03/23/23 13:21:37




                   March 23, 2023
                   Page 2



                  cc: Sanford P. Rosen, Esq., Paris Gyparakis, Esq. (Via email and ECF)
                      Eugene Scheiman, Esq. (Via email and ECF)
                      (Counsel for Defendants)




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